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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

United States of America          :
                                  :
v.                                :       Case No. 3:06cr12 (JBA)
                                  :
Jose Calhelha, et al.             :

         RULING ON PENDING MOTIONS [DOCS. ## 50, 52, 55]

     Defendants Jose Calhelha and Diana Calhelha, along with co-

defendant Antonio Fernandes, are charged with various violations

of the Immigration and Nationality Act relating to alleged

activities involving illegal aliens including the illegal

encouragement, harbor, and transport of aliens into and within

the United States for the purpose of, inter alia, obtaining the

service of these aliens at the Calhelhas’ Dunkin’ Donuts stores

in Connecticut.    Specifically, the Superseding Indictment

(“Indictment”) [Doc. # 48] charges all defendants with conspiracy

to encourage, harbor, and transport aliens illegally into the

United States in violation of 8 U.S.C. § 1324(a)(1)(A)(v) (Count

1) and transport of aliens in violation of 8 U.S.C. §

1324(a)(1)(A)(ii) and 18 U.S.C. § 2 (Count 5).           Defendant Jose

Calhelha is also charged with encouraging aliens to enter the

United States in violation of 8 U.S.C. § 1324(a)(1)(A)(iv) and 18

U.S.C. § 2 (Count 2), bringing aliens into the United States for

commercial advantage or private financial gain in violation of 8

U.S.C. § 1324(a)(2)(B)(ii) and 18 U.S.C. § 2 (Count 3), harboring



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aliens in violation of 8 U.S.C. § 1324(a)(1)(A)(iii) and 18

U.S.C. § 2 (Count 4), fraud in connection with false

identification documents in violation of 18 U.S.C. § 1028(a)(2)

and 18 U.S.C. § 2 (Count 6), and hiring of aliens in violation of

8 U.S.C. § 1324a(a)(1)(A).        Defendant Fernandes is also charged

with fraud in connection with false identification documents in

violation of 18 U.S.C. § 1028(a)(2) and 18 U.S.C. § 2 (Count 6).

       Defendants Jose and Diana Calhelha now move to dismiss the

Superseding Indictment and for access to the grand jury

transcripts and/or for in camera review, see Mot. to Dismiss

[Doc. # 55], for a bill of particulars, see Mot. for Particulars

[Doc. # 52], and for discovery, see Mot. for Discovery [Doc. #

50].    For the reasons that follow, the motions to dismiss and for

discovery will be denied and the motion seeking a bill of

particulars will be granted in part and denied in part.

I.     Facts Alleged in Indictment

       The Indictment claims that Jose and Diana Calhelha and

Antonio Fernandes conspired to encourage, harbor, and transport

aliens illegally into the United States by alleging the following

facts.    Jose Calhelha owned and operated 10 Dunkin’ Donuts stores

in Connecticut between 2002 and 2005 and Diana Calhelha had an

ownership interest in at least one of those stores.              Indictment

¶¶ 4-5.    Beginning in 2002, Jose Calhelha “devised a plan to

recruit aliens from Portugal who would travel to the United


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States to be employed at his Dunkin’ Donuts stores.           All of the

aliens were to be brought into the United States for commercial

advantage, private financial gain, and in violation of the

immigration laws of the United States.”        Id. ¶ 6.

     According to the Indictment, Jose Calhelha “recruited aliens

to illegally work in the United States by, among other methods,

advertising in a Portugese newspaper for employees for his

Dunkin’ Donuts stores;” “defendants transported aliens from

Newark International Airport to Connecticut and within

Connecticut so that these aliens could work at the various

Dunkin’ Donuts stores;” “Jose Calhelha employed the aliens at the

various Dunkin’ Donuts stores knowing that they did not have

authorization to work in the United States;” “Jose Calhelha

initially paid some of the aliens in cash.         For a period of time

he also paid aliens by checks made payable to fraudulent

identities on the checks;” “Jose Calhelha sold fraudulent

identity documents to aliens recruited and employed to manage his

stores and later paid them with checks payable in the names

appearing on the fraudulent United States identity documents;”

“Antonio Fernandes sold fraudulent identity documents to at least

one alien recruited from Portugal;” “Diana Calhelha and Antonio

Fernandes during various time periods would oversee the

management of some or all of the stores knowing that some of the

managers and employees were undocumented aliens;” and “Diana


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Calhelha directed the aliens as to where they would work,

transported them to their job sites and directed them as to what

job functions they would perform on particular days.”             Id. ¶¶

20(a)-(h).

     Fleshing out the overt act allegations, the Indictment also

states that, in addition to placing an advertisement in at least

one Portugese newspaper seeking individuals to work in his

Dunkin’ Donuts stores, Jose Calhelha also “met with aliens in

Portugal knowing that they did not have employment authorization

to work in the United States and offered them positions in his

Dunkin’ Donuts stores.       During these meetings in Portugal, Jose

Calhelha made promises to them about their position, salary,

compensation package, and immigration status.           Diana Calhelha was

present during at least one of these meetings.           During these

meetings, Jose Calhelha directed them to purchase airline tickets

for travel from Portugal to the United States and reimbursed them

for the airfare.”   Id. ¶¶ 7-8.      The Indictment also alleges

exploitation of the aliens and physical assault of two of the

aliens by defendant Fernandes, “creating an environment of

intimidation and harm.”      Id. ¶ 20(i).    The Indictment further

alleges that “[d]uring the period of the conspiracy it appears

that more than fifty percent (50%) of the individuals employed by

[Jose Calhelha] at his various Dunkin’ Donuts Stores were aliens

who were utilizing social security numbers that were invalid or


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did not match the individual.”        Id. ¶ 11.    The Indictment claims

that Jose and Diana Calhelha “knowingly completed, caused to be

completed, and maintained fraudulent I-9 employment forms for the

aliens” and that “Jose Calhelha knowingly filed and caused to be

filed W-2 and W-3 tax forms with the Internal Revenue Service

containing false identity information.”          Id. ¶¶ 12-13.

II.   Motion to Dismiss or for In Camera Review

      A.    Standard

      Upon a motion to dismiss in a criminal case, the allegations

in the indictment must be accepted as true.           See United States v.

Alfonso, 143 F.3d 772, 776-77 (2d Cir. 1998).            “The indictment .

. . shall be a plain, concise and definite written statement of

the essential facts constituting the offense charged.”              Fed. R.

Crim. P. 7(c)(1).      “[A]n indictment is sufficient if it, first,

contains the elements of the offense charged and fairly informs a

defendant of the charge against which he must defend, and,

second, enables him to plead an acquittal or conviction in bar of

future prosecutions for the same offense.”           Hamling v. United

States, 418 U.S. 87, 117 (1974) (citations omitted); accord

Alfonso, 143 F.3d at 776.       “It is generally sufficient that an

indictment set forth the offense in the words of the statute

itself, as long as those words of themselves fully, directly, and

expressly . . . set forth all the elements necessary to

constitute the offence intended to be punished.”              Hamling, 418


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U.S. at 177 (internal quotations omitted).         The indictment “must

descend to particulars,” however, if “the definition of an

offense . . . includes generic terms.”       United States v.

Cruikshank, 92 U.S. 542, 558 (1875) (internal citation omitted);

accord United States v. Pirro, 212 F.3d 86, 92-93 (2d Cir. 2000).

     In the absence of a full proffer of the Government’s

evidence, “the sufficiency of the evidence is not appropriately

addressed on a pretrial motion to dismiss an indictment.”

Alfonso, 143 F.3d at 776-77 (reversing dismissal of an indictment

when the district court “looked beyond the face of the indictment

and drew inferences as to the proof that would be introduced by

the government at trial” to satisfy an element of the charge);

accord Costello v. United States, 350 U.S. 359, 363 (1956) (If

“valid on its face,” a grand jury indictment “is enough to call

for trial of the charge on the merits.”) (citations and footnote

omitted).

     B.     Discussion

     Defendants Jose and Diana Calhelha move to dismiss the

Superseding Indictment, claiming “it fails to allege all elements

of the alleged charges and fails to state material facts

constituting elements of those charges.”        Mot. to Dismiss [Doc. #

55] at 1.    “Alternatively, defendants move for access to grand

jury transcripts and/or for in camera review of those

transcripts, pursuant to Rule 6(e)(3)(E)(ii) of the Federal Rules


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of Criminal Procedure, because defendants contend that the grand

jury was not presented with sufficient information to enable it

to have found probable cause that they each committed each

element of the offenses set forth in the Superseding Indictment.”

Id. at 1-2.    The Court will address defendants’ arguments

specific to each count in turn.

     Count 3

     Count 3 of the Indictment, as noted above, charges “Bringing

Aliens into the United States” in violation of 8 U.S.C. §

1324(a)(2)(B)(ii) and 18 U.S.C. § 2.       8 U.S.C. §

1324(a)(2)(B)(ii) provides:

     Any person who, knowing or in reckless disregard of the
     fact that an alien has not received prior official
     authorization to come to, enter, or reside in the
     United States, brings to or attempts to bring to the
     United States in any manner whatsoever, such alien,
     regardless of any official action which may later be
     taken with respect to such alien shall, for each alien
     in respect to whom a violation of this paragraph
     occurs–- . . . in the case of–- . . . an offense done
     for the purpose of commercial advantage or private
     financial gain . . . be fined under Title 18 and shall
     be imprisoned, in the case of a first or second
     violation of subparagraph (B)(iii), not more than 10
     years, in the case of a first or second violation of
     subparagraph (B)(i) or (B)(ii), not less than 3 nor
     more than 10 years, and for any other violation, not
     less than 5 nor more than 15 years.

18 U.S.C. § 2 provides that “[w]hoever commits an offense against

the United States or aids, abets, counsels, commands, induces or

procures its commission, is punishable as a principal,” and

“[w]hoever willfully causes an act to be done which if directly


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performed by him or another would be an offense against the

United States, is punishable as a principal.”

     Defendants contend that Count 3 is invalid as it does not

allege that Jose Calhelha knew that the aliens entered the United

States without prior official authorization, but only that he

knew or acted with reckless disregard for the fact that the

aliens had not received prior official authorization to enter the

United States for work.      Indictment ¶ 24.    Defendants also

contend that the Indictment does not sufficiently allege that

Jose Calhelha did anything to bring the aliens into the United

States, nor does it adequately allege that he brought the aliens

into the United States for purpose of commercial advantage or

private financial gain, as required by § 1324(a)(2)(B)(ii).

     As to defendant’s first contention, the allegation in the

Indictment that Jose Calhelha acted “knowing and in reckless

disregard of the fact that the aliens had not received prior

official authorization to enter the United States for work,”

Indictment ¶ 24, is sufficient to state an offense under §

1324(a)(2)(B)(ii).    In United States v. Gasanova, 332 F.3d 297,

299 (5th Cir. 2003), the Fifth Circuit rejected an analogous

claim by defendants who argued that it was not a violation of §

1324(a)(2) “to bring an alien to the United States known to be

ineligible to enter so long as when brought the alien holds a

visa issued by a proper government authority, even if they knew


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the alien’s visa was obtained through fraud or artifice”

(emphasis added).        The Fifth Circuit stated that “[t]o construe

official authorization as including a document the defendant

knows to be mistakenly-issued or fraudulently-obtained would

thwart th[e] objective [to combat illegal immigration].                It would

permit a defendant to bring to the United States an alien who the

defendant knows is ineligible to enter so long as the defendant

succeeds in purloining a visa from an official source.               Because

this interpretation would contravene the fundamental purpose of

the legislation through which § 1324(a)(2) was enacted we reject

it.”       Id.1   There is no dispute that 8 U.S.C. § 1182(a)(6)(c)

provides that “[a]ny alien who, by fraud or willfully

misrepresenting a material fact, seeks to procure (or has sought



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       Defendants contend that Gasanova “provides no insight into
whether the aliens in this case lacked ‘prior official
authorization’ to enter” because that case concerned “whether the
defendant had knowledge that the aliens did not have ‘prior
official authorization to enter,’” and concluded that “defendants
could not rely on the fact that the aliens had entered with
facially valid visas in light of their personal participation in
committing visa fraud in obtaining such visas. Def. Mem. at 10
n.6. However, while the circumstances in Gasanova were not
identical to those here, as described above Gasanova is
nevertheless analogous and supports the conclusion that admission
premised on the Visa Waiver Program could nevertheless be
unauthorized if entry based on that program was procured by fraud
or by willfully misrepresenting a material fact (i.e. that the
aliens were not entering the United States for 90 days or less,
but were to remain here indefinitely, working illegally).
Further, as set out infra note 2, the Indictment specifically
alleges that defendants acted knowing, or in reckless disregard
of the fact, that the aliens had come to and remained in the
United States illegally.

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to procure or has procured) a visa, other documentation, or

admission into the United States or other benefit provided under

this chapter is inadmissible.”      Accordingly, the Indictment

sufficiently alleges the scienter element of a §

1324(a)(2)(B)(ii) violation as it alleges Jose Calhelha knew or

acted with reckless disregard of the fact that the aliens entered

without work authorization, and thus, if the allegations are

proved, their admission into the United States pursuant to the

Visa Waiver Program was procured by fraud because the Program

“enables nationals of certain countries to travel to the United

States for tourism or business for stays of 90 days or less

without obtaining a visa,” see http://www.travel.state.gov/

visa/temp/without/without_1990.html#1, and the aliens were coming

to work in the United States unlawfully (that is, without work

authorization) and indefinitely.2

     As to defendants’ second argument, the facts alleged in the

Indictment are sufficient to support a “bringing” offense under §

1324(a)(2).   Defendants contend that at most the allegations in



     2
       Defendants argue that the Government has not sufficiently
pled this theory because the allegations do not provide that Jose
Calhelha knew that entering the United States under fraudulent
pretenses pursuant to the Visa Waiver Program was illegal and
would render an alien inadmissible. However, contrary to
defendants’ contentions, the Indictment specifically alleges that
Jose Calhelha, and indeed all three defendants, acted “knowing
and in reckless disregard of the fact that aliens had come to,
entered, and remained in the United States in violation of law.”
See ¶¶ 18, 19, 22 (emphasis added).

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the Indictment support an offense of encouraging aliens to enter

the United States because “the word ‘bringing,’ as used in the

statute, is given its usual and customary meaning [and] [b]y

definition, there must be some physical act by which the

defendant transports the aliens, i.e. an ‘escorting or

accompanying component.’” Def. Mem. [Doc. # 55-2] at 13 (citing

United States v. Assadi, 223 F. Supp. 2d 208, 210 (D.D.C. 2002)).

Defendants compare the circumstances of this case to those in

Assadi, and claim that in Assadi the alleged smuggler “generally

engages in some physical act to enable the alien to gain entry in

the United States,” and “the Court in Assadi held that even all

of that activity did not constitute ‘bringing in.’” Id. at 13-14.

      In Assadi, the defendant “created or procured falsified

passports for the aliens, bought them airline tickets, . . .

procured boarding passes for them, and took them to the airport.

He instructed them to destroy their travel documents once they

were airborne, to ask for asylum when they deplaned in Miami, and

to lie if asked who had arranged their passage.”              Asadi, 223 F.

Supp. 2d at 209.      However, “Assadi did not accompany any of the

aliens on their flights to Miami, nor did he meet them (or

arrange to have them met) when they arrived.            His involvement

with the aliens ended as soon as he saw them to their flights.”

Id.   The Assadi court noted that “‘bring’ means ‘to convey, lead,

carry or cause to come along from one place to another . . . to


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escort, or accompany.        It does not mean ‘send’ or ‘launch.’               The

first definition listed in the Oxford English Dictionary is: ‘To

cause to come along with oneself; to fetch.            It includes ‘lead’

or ‘conduct’ . . . as well as ‘carry . . . ; it implies motion

towards the place where the speaker or auditor is, or is supposed

to be, being in a sense the causal of come.’”            Id. at 210.        The

Asadi court further noted “[n]othing in Fowler[‘s Modern English

Usage] or in Webster or the OED, or in correct common usage,

supports the use of ‘bring’ when there is neither movement

towards the speaker nor accompaniment.”          Id.    The court thus held

that while “‘bringing to’ does not require control of the means

of transport,” it must involve an “escorting or accompanying

component.”

     This case, however, is distinguishable from Assadi: the

Indictment alleges that, in addition to recruiting and meeting

with the aliens and paying for their airline fare, Jose Calhelha

also “[u]pon their arrival in the United States . . . transported

the aliens, or arranged for their transport, from Newark

International Airport to his residence in Guilford, Connecticut

where the aliens stayed for a period of time.”                Indictment ¶ 8.

Thus, Jose Calhelha, unlike Assadi, participated in “motion

towards the place where [he] [wa]s, or [was] supposed to be,”

Asadi, 223 F. Supp. 2d at 210, and indeed accompanied them

himself directly from the airport to the place where they would


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be staying, his home.        The circumstances of this case are thus

more analogous to those in United States v. Aslam, 936 F.2d 751

(2d Cir. 1991), in which the Second Circuit reversed a district

court’s direction of defendant’s acquittal on this issue, holding

that § 1324(a)(2) applied to defendant’s conduct in meeting two

aliens in the United States within a few yards of the border

shortly after they had walked across it.           The Second Circuit

observed that “section 1324(a)(2) punishes those who participate

in the process of bringing illegal aliens into the United States,

and that . . . offense does not end at the instant the alien sets

foot across the border.        The illegal importation of aliens, like

the illegal importation of drugs, . . . continues at least until

the alien reaches his immediate destination in this country.”

Id. at 755 (emphasis added).        According to the allegations in the

Indictment, Jose Calhelha not only participated in the process of

bringing illegal aliens into the United States, but also devised

and instigated the process, and saw it to conclusion by receiving

the aliens at Newark International airport and “bringing” them to

Connecticut.   These allegations are sufficient, under Aslam and

Asadi, to state a § 1324(a)(2) violation.

     Defendants’ last argument concerning Count 3 is that the

Indictment insufficiently alleges that Jose Calhelha brought

aliens into the United States “for the purpose of commercial

advantage or private financial gain” as required by §


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1324(a)(2)(B)(ii).    Defendants contend that “[g]enerally, this

has meant that a person gets a ‘smuggling fee’ for bringing

illegal aliens into the United States . . . [and] [t]he

Superseding Indictment does not allege that Mr. Calhelha received

such a fee from anyone.”      Def. Mem. at 15.     This narrow reading

of the “commercial advantage or private financial gain” provision

of § 1324 does not comport with case law which more broadly

construes the scope of such motivation.        The Second Circuit in

United States v. Dae Whan Kim, 435 F.3d 182, 185 (2d Cir. 2006),

stated “the statute does not require evidence of an ‘actual

payment or even an agreement to pay’ but merely requires that the

defendant acted ‘for the purpose of financial gain.’”             Likewise,

in United States v. Myung Ho Kim, 193 F.3d 567 (2d Cir. 1999),

the court found that defendant had acted “for the purpose of

commercial advantage of private financial gain” in retaining an

illegal alien as “a valued managerial employee,” affirming the

district court’s reasoning that “[i]f a businessman . . . makes a

decision such as the one he did with respect to [the illegal

alien], a decision to direct her to falsify a document, a

decision to do so in connection with the running of his business,

one would think that it’s a simple, common sense inference that

he’s doing it for a business reason, lawful or unlawful business

reason, but a business or profit-motivated reason.”            Id. at 577.

The Second Circuit relied on the fact that “[t]here was no


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evidence that [the defendant] had harbored [the alien] out of any

feelings of charity or affection, or that he had any motive other

than the profitability of his business.”            Id.   The Kim court also

adopted the broad common definitions for the statutory terms:

“[t]he usual meaning of ‘commercial,’ for example, is ‘relating

to commerce,’ or ‘from the point of view of profit: having profit

as the primary aim,’ . . . while ‘advantage’ signifies a

‘benefit, profit, or gain of any kind.’” Id.

       The Indictment here alleges that Jose Calhelha devised this

scheme, recruited aliens, and brought them into the United States

for the purpose of working in his stores.            It also states that

defendants paid the aliens significantly substandard wages and

required them to work excessively long hours without overtime

pay.    Moreover, there is no suggestion or inference to be drawn

from the allegations that Jose Calhelha did this for any reason

other than to personally profit from exploiting these

individuals.      Thus, the Indictment’s allegations are sufficient

for § 1324(a)(2)(B)(ii) purposes, pursuant to the Second Circuit

authority outlined above.

       Counts 1-2, 4-5

       As to Counts 1-2 and 4-5, which allege conspiracy to

encourage, harbor, and transport aliens illegally into the United

States (Count 1), encouraging aliens to enter the United States

(Count 2), harboring aliens (Count 4), and transporting aliens


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(Count 5), defendants’ reiterate some of their arguments as to

Count 3; specifically, defendants contend that the allegations in

these counts are insufficient to establish that the aliens’ entry

into and presence in the United States was unlawful, that the

Indictment fails to allege facts that would establish that the

defendants knew or acted in reckless disregard of the aliens’

allegedly unlawful immigration status, and that the Indictment

fails to adequately allege that defendants acted for commercial

advantage or private financial gain.

     8 U.S.C. § 1324(a)(1)(A)(ii)-(iv), respectively, prohibit

the transport of aliens, the harboring of aliens, and the

encouragement of aliens, “knowing or in reckless disregard of the

fact that an alien has come to, entered, or remains in the United

States in violation of law” (or, for the encouragement offense,

“knowing or in reckless disregard of the fact that such coming

to, entry, or residence is or will be in violation of the law”).

Section 1324(a)(1)(A)(v) prohibits conspiracy to commit any of

the above offenses and/or a “bringing offense.”             Contrary to

defendants’ contentions, the allegations in the indictment

suffice to allege scienter as they track the language of Section

1324: “Jose Calhelha . . . knowing and in reckless disregard of

the fact that aliens had come to, entered, and remained in the

United States in violation of law . . .,” “the defendants . . .

knowing and in reckless disregard of the fact that aliens had


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come to, entered, and remained in the United States in violation

of law . . .,” “Jose Calhelha . . . knowing and in reckless

disregard of the fact that such coming to, entry, and residence

was and would be in violation of law.”        Indictment ¶¶ 18, 19, 22.

Further, as set out above, the allegations comport with statutory

requirements because 8 U.S.C. § 1182(a)(6)(c) renders “[a]ny

alien who, by fraud or willfully misrepresenting a material fact,

seeks to procure (or has sought to procure or has procured) a

visa, other documentation, or admission into the United States or

other benefit provided under this chapter” inadmissible, and the

aliens in this case were thus inadmissible because they were

admitted pursuant to the Visa Waiver Program whereas they entered

the United States – as defendants knew – indefinitely, for the

purpose of working in the Calhelha’s Dunkin’ Donuts stores, and

without work authorization.      Whether the Government will be able

to prove its allegations at trial that defendants were aware of,

or acted in reckless disregard of, the unlawfulness of the

aliens’ entry and presence in the United States, is not properly

considered at this stage.      See Alfonso, 143 F.3d at 776-77,

supra.

     As to defendants’ contentions regarding the sufficiency of

the allegations that Jose and Diana Calhelha acted for the

purpose of commercial advantage or financial gain, as described

above with respect to Count 3 these allegations are sufficient.


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The allegations track the language of the statute, set forth that

both Calhelhas had an ownership interest in the stores, and

describe that the aliens working in those stores worked

excessively long hours for substandard pay.          Accordingly, based

on the Second Circuit authority defining the scope of this

requirement described above, these allegations and facts in the

Indictment are sufficient.3

     Count 6

     Count 6 charges Jose Calhelha, along with defendant

Fernandes, with a violation of 18 U.S.C. § 1028(a)(2), which

provides that “[w]hoever, in a circumstance described in

subsection (c) of this section–- . . . (2) knowingly transfers an

identification document, authentication feature, or a false

identification document knowing that such document or feature was

stolen or produced without lawful authority . . . shall be

punished as provided in subsection (b) of this section.”             The

circumstances described in subsection (c) include that “the

identification document, authentication feature, or false


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       In any event, the Court is unclear as to the basis of
defendants’ claim that “the crimes charged in Counts Two, Four
and Five require that Jose Calhelha and Diana Calhelha engaged in
the unlawful conduct in question ‘for the purpose of commercial
advantage or financial gain.’” Def. Mem. at 17. Unlike the
“bringing” violation charged in Count 3 against Jose Calhelha,
which is discussed above, the statutory subsections providing the
basis for the crimes charged in Counts Two, Four and Five do not
contain a requirement that the actions were taken “for the
purpose of commercial advantage or financial gain.” See 8 U.S.C.
§ 1324(a)(1)(A)(ii)-(iv).

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identification document is or appears to be issued by or under

the authority of the United States or a sponsoring entity of an

event designated as a special event of national significance or

the document-making implement is designed or suited for making

such an identification document, authentication feature, or false

identification document” as well as “either–-(A) the production,

transfer, possession, or use prohibited by this section is in or

affects interstate or foreign commerce, including the transfer of

a document by electronic means; or (B) the means of

identification, identification document, false identification

document, or document-making implement is transported in the mail

in the course of the production, transfer, possession, or use

prohibited by this section.”

     Defendants contend this count is flawed because the

Indictment fails to identify all of the false documents allegedly

transferred by Mr. Calhelha, but only states “including a lawful

permanent resident card (green card) and a social security card.”

Indictment ¶ 31.    Defendants further argue that the Government

must prove that the documents are “identification documents”

under the section, and while green cards and social security

cards would satisfy this definition, the use of the word

“including” is vague.

     By their argument defendants thus admit that the allegations

in Count 6 are sufficient to state a violation of § 1028 by


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acknowledging that it alleges Jose Calhelha transferred falsified

documents which meet the definition of “identification documents”

under the statute (a green card and social security card).

Moreover, while defendants contest the Government’s use of the

word “including,” without identification of any additional

claimed falsified documents, the Government represents that the

investigative reports provided to defendants identify the aliens

who bought documents from Mr. Calhelha, and that the Government

has obtained copies of all such claimed documents and has

produced them to defendants.      Cf. United States v. Bernstein, 533

F.2d 775, 786-87 (2d Cir. 1976) (“The indictment as amplified by

the bill of particulars made clear to the appellants what was the

nature and cause of the Government’s case and gave them ample

opportunity to prepare their defense.”).         Count 6 is thus

sufficient as it tracks the language of the statute and alleges

transfer of falsified documents covered by the statute, and

defendants have been provided notice of the claimed falsified

documents sufficient for trial preparation and double jeopardy

purposes.

     Count 7

     Count 7 asserts a violation of 8 U.S.C. § 1324a(a)(1)(A),

which makes it unlawful “to hire, or to recruit or refer for a

fee, for employment in the United States an alien knowing the

alien is an unauthorized alien . . . with respect to such


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employment.”   Count 7 alleges that Jose Calhelha “did hire or

caused to be hired aliens for employment at the various Dunkin’

Donut stores with actual knowledge that they were and are aliens

who had not been lawfully admitted for residence in the United

States and had not been authorized for employment by law or by

the Attorney General or his successor, the Secretary of Homeland

Security.”   Indictment ¶ 33.     Defendants contend that in order to

qualify for criminal penalties, an indictment must allege a

pattern and practice of violations, citing § 1324a(f)(1), and

they argue that the Indictment does not allege facts which would

support a finding that Mr. Calhelha engaged in a “pattern and

practice” of illegal hiring violations, as Count 7 does not

identify which employees are claimed to have been illegally

hired, or how many.    “Pattern and practice” is defined as

“regular, repeated, and intentional activities, but does not

include isolated, sporadic, or accidental acts.” 8 C.F.R. §

274a.1(k).

     The earlier allegations in the Indictment, which are

incorporated by reference into Count 7, adequately allege a

“pattern and practice” of illegal hiring.         Specifically, the

Indictment alleges that Mr. Calhelha “devised a plan to recruit

aliens from Portugal who would travel to the United States to be

employed at his Dunkin’ Donuts stores,” Indictment ¶ 6, that

“[i]n order to carry out his plan . . . Jose Calhelha placed an


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advertisement in or about 2002 in at least one Portugese

newspaper seeking individuals in Portugal . . . to work as

managers in his Dunkin’ Donuts stores,” id. ¶ 7, that “[i]n

furtherance of this plan, Jose Calhelha met with aliens in

Portugal knowing that they did not have employment authorization

to work in the United States and offered them positions at [his]

stores,” made promises to them about employment benefits and

directed them to purchase airline tickets for which he would

reimburse them, id. ¶ 8, and that “[s]hortly after arriving in

the United States, the aliens began working for Calhelha in his

Dunkin’ Donuts stores without obtaining work authorization,” id.

¶ 9.    Count 7 specifically alleges that Mr. Calhelha hired or

caused to be hired these aliens “with actual knowledge that they

were and are aliens who had not been lawfully admitted for

residence in the United States and had not been authorized for

employment.”      Id. ¶ 33.

        8 C.F.R. § 274a.1(k) does not require the Indictment to

specifically identify the aliens claimed to have been illegally

hired, nor to state the specific number of illegally hired

aliens.     As described in the preceding paragraph, the Indictment

sufficiently alleges that Mr. Calhelha intentionally engaged in a

plan to recruit and hire multiple aliens to work in his stores.

As opposed to “isolated, sporadic, or accidental acts,” the

Indictment details a deliberately devised and executed scheme by


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which Mr. Calhelha placed newspaper advertisements, attended

meetings in Portugal, and financed transcontinental airline

passages, resulting in his hiring of multiple aliens who,

according to the Indictment, he knew were unauthorized for such

employment in the United States.

     Moreover, the Government represents that it has identified

for defendants, by way of law enforcement reports and witness

lists, the aliens who are alleged to have, inter alia, worked in

defendants’ stores.    Thus, the Indictment sufficiently alleges a

“pattern and practice” and defendants’ claims that the Indictment

does not identify the aliens, or even how many, that were

involved, when they were hired, or how Mr. Calhelha knew they

were unauthorized, do not suffice to undermine the adequacy of

the Indictment, particularly because the relevant portions of

that information have already been provided.4

     All Counts

     The Court appreciates defendants’ argument as to all counts

that the Indictment fails to identify the aliens alleged to have

been involved in the illegal conduct charged.          However, the

Government represents that the aliens have been identified in

witness lists, law enforcement reports and other documentation



     4
       The Indictment alleges time frame in approximate terms,
which is all that is required, and it need not allege how Mr.
Calhelha knew the aliens were unauthorized, only that he knew
they were unauthorized, which it does.

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provided to defendants, including documents from the Social

Security Administration which the Government contends shows that

Jose Calhelha “was on notice year after year as to the number of

aliens working at his stores who had false or improper social

security numbers.”    Gov’t Opp. at 18.      As noted above, the Second

Circuit has “consistently sustained indictments which track the

language of the statute and, in addition, do little more than

state time and place in approximate terms.”          Bernstein, 533 F.2d

775 at 786.   As detailed above, the Indictment in this case

complies with this requirement, and the statutory provisions at

issue do not require specific identification of aliens.             However,

defendants’ claim that without identification of the aliens the

charges are insufficiently detailed to guard against double

jeopardy will be addressed below in considering the request for a

bill of particulars.     Cf. Bernstein, 533 F.2d at 786-87 (“The

indictment as amplified by the bill of particulars made clear to

the [defendants] what was the nature and cause of the

Government’s case and gave them ample opportunity to prepare

their defense.”).

     Grand Jury Transcripts

     As to defendants’ request for disclosure of the grand jury

transcripts or, at minimum, for the Court’s in camera review of

those transcripts, “[t]he indictment alone, . . . absent any

suggestion of grand jury bias or that it was illegally


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constituted, ‘is enough to call for trial of the charge on the

merits.’” United States v. Shakur, 560 F. Supp. 347, 350

(S.D.N.Y. 1983) (citing Costello v. United States, 350 U.S. 359,

363 (1956) (“If indictments were to be held open to challenge on

the ground that there was inadequate or incompetent evidence

before the grand jury, the resulting delay would be great indeed.

The result of such a rule would be that before trial on the

merits a defendant could always insist on a kind of preliminary

proceeding to determine the competency and adequacy of the

evidence before the grand jury.      This is not required by the

Fifth Amendment.    An indictment returned by a legally constituted

and unbiased grand jury, like an information drawn by the

prosecutor, if valid on its face, is enough to call for trial of

the charge on the merits.      The Fifth Amendment requires nothing

more.”).

     Apart from challenging the face of the Indictment itself, as

detailed above, and defendants’ speculative and conclusory claim

that “it appears that the grand jury was not presented with

sufficient information to enable it to have found probable cause

that Defendants committed the offenses alleged,” Def. Mem. [Doc.

# 55-2] at 25, defendants make no suggestion of grand jury bias,

or that the grand jury was illegally constituted.            Accordingly,

their request for production or in camera review of the grand

jury transcripts must be denied.


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III. Motion for Bill of Particulars

     A.   Standard

     “It has long been settled that an indictment is adequate so

long as it contains the elements of the offense, sufficiently

apprises the defendant of what he must be prepared to meet, and

is detailed enough to assure against double jeopardy.”                United

States v. Salazar, 485 F.2d 1272, 1277 (2d. Cir. 1973).

Accordingly, Rule 7(f) “permits a defendant to seek a bill of

particulars in order to identify with sufficient particularity

the nature of the charge pending against him, thereby enabling

defendant to prepare for trial, to prevent surprise, and to

interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.”         United States v. Bortnovsky,

820 F.2d 572, 574 (2d Cir. 1987).        Courts have “consistently

sustained indictments which track the language of a statute and,

in addition, do little more than state time and place in

approximate terms,” Salazar, 485 F.2d at 1277, and thus “[a] bill

of particulars is required ‘only when the charges of the

indictment are so general that they do not advise the defendant

of the specific acts of which he is accused.’”               United States v.

Ojeikere, 299 F. Supp. 2d 254, 260 (S.D.N.Y. 2004) (quoting

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990)).                    “The

decision to grant or deny a bill of particulars is within the

sound discretion of the district court.”          United States v.


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Davidoff, 845 F.2d 1151, 1154 (2d Cir. 1988).

       “Generally, if the information sought by defendant is

provided in the indictment or in some acceptable alternate form,

no bill of particulars is required.”          Bortnovsky, 820 F.2d at

574.    Additionally, “[i]t is repeated over and over again in the

cases that a bill of particulars may not call for an evidentiary

matter.     Other cases say the government will not be required to

disclose its legal theory on a bill of particulars.”               United

States v. Ganim, 225 F. Supp. 2d 145, 156 (D. Conn. 2002) (citing

Wright & Miller, Fed. Practice & Procedure 3d, § 129 at 659-60);

accord Davidoff, 845 F.2d at 1154 (“The prosecution need not

particularize all of its evidence.”); Ojeikere, 299 F. Supp. 2d

at 260 (“The Government may not be compelled to provide a bill of

particulars disclosing the manner in which it will attempt to

prove the charges, the precise manner in which the defendant

committed the crimes charged, or a preview of the Government’s

evidence or legal theories.”).         Further, “[t]he crucial question

is whether the information sought is necessary, not whether it is

helpful.”     United States v. Love, 859 F. Supp. 725, 738 (S.D.N.Y.

1994), aff’d sub nom. United States v. Roberts, 41 F.3d 1501 (2d

Cir. 1994).

       B.    Discussion

       As a preliminary matter, the Government notes that

defendants previously made a motion for bill of particulars,


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which was denied, and thus the Government contends that

defendants’ motion is actually one for reconsideration.             However,

because defendants’ previous motion predated the current

Superseding Indictment, and thus the context for any motion for a

bill of particulars has changed, the Court will not apply the

strict standard for reconsideration motions to the instant

motion.

     Defendants seek a bill of particulars providing: (1) the

identification of the aliens at issue in each count; (2) the

identification of all documents that are the basis for the

offense charged in Count Six; and (3) information about whether

each of the aliens at issue in Counts One through Five is one who

has (a) come to the United States unlawfully; (b) entered the

United States unlawfully; (c) remained in the United States

unlawfully; or (d) resided in the United States unlawfully.

     As to defendants’ second request – for identification of all

of the documents implicated by Count Six – as discussed above the

law enforcement reports produced to defendants identify the

aliens who allegedly bought documents from Mr. Calhelha and the

Government has also produced copies of all such claimed documents

to defendants.   Defendants do not take the position that the

Government’s discovery production, as detailed in its opposition

memoranda to defendants’ motions, is inadequate in some way.

Thus, defendants’ motion as to this information is denied.              See


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Bortnovsky, 820 F.2d at 574 (“Generally, if the information

sought by defendant is provided in the indictment or in some

acceptable alternate form, no bill of particulars is required.”).

     As to the request for identification of all aliens at issue

in each of the Counts, as well as additional information

regarding the status of each of the aliens at issue in Counts One

through Five, the Government contends that it need not identify

each and every alien at issue because it has charged only one

count of each offense, and thus unlawful conduct with respect to

even just one alien would suffice, and it also argues that the

additional information sought has already been provided in the

Government’s witness lists, investigative reports produced, and

social security documents disclosed.       While “[i]t is repeated

over and over again in the cases that a bill of particulars may

not call for an evidentiary matter [and] the government will not

be required to disclose its legal theory on a bill of

particulars,” Ganim, 225 F. Supp. 2d at 156, defendants are

entitled to a bill of particulars to provide detail where

necessary to allow a defendant “to interpose a plea of double

jeopardy should he be prosecuted a second time for the same

offense,” Bortnovsky, 820 F.2d at 574.        The Court here must

determine on which side of this line defendants’ requests fall.

     Defendants’ requests for identification of the aliens at

issue in each count is appropriate and necessary to permit them


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to interpose a plea of double jeopardy.         While the Government may

only need to prove illegal conduct with respect to one alien in

order to prove the offenses charges, this argument avoids the

question of which aliens are in fact at issue in the crimes for

which defendants are charged.       “The federal rule is that jeopardy

attaches when the jury is empaneled and sworn,” Crist v. Bretz,

437 U.S. 28, 29 (1978), and thus defendants must know the

offenses with which they are charged, sufficient for pleading

double jeopardy in any subsequent prosecution, at that time, not

after trial.   Likewise, defendants must know which illegal

activity (e.g., encouraging, bringing, harboring, transporting,

etcetera) is charged with respect to which aliens, also in order

for them to interpose a plea of double jeopardy in a later

proceeding.    Without such information, defendants would not know

if they were charged with harboring aliens A and B in this

proceeding, such that they could be charged with harboring alien

C in a subsequent proceeding, or whether they are charged with

harboring all three aliens in this prosecution and thus could not

be prosecuted for harboring any one of the three in any

subsequent proceeding.       Accordingly, defendants’ motion as to

this information will be granted and the Government is directed

to provide identification of the aliens at issue in each of

Counts One through Five (by count) to defendants within 10

calendar days from the date of this ruling.


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      As to defendants’ request for additional information as to

whether the aliens are claimed to have come to, entered, remained

in, or resided in the United States unlawfully, this information

crosses the line into seeking evidentiary material and/or

information about the Government’s legal theories.              With the

information discussed above which the Government has been

directed to provide, defendants will be aware of all of the

aliens at issue in each particular count, which will enable them

to properly prepare for trial by gathering all relevant

documentary evidence concerning those aliens and by preparing to

question those individuals (the Government has also already

provided its witness list).        The immigration status and nature of

each alien’s legal relationship with the United States is not

necessary to this trial preparation, nor to a future plea of

double jeopardy in any subsequent prosecution, and thus

defendants are not entitled to this information.              Accordingly,

defendants’ motion as to this information will be denied.

IV.   Motion for Discovery

      A.    Standard

      The Supreme Court’s decision in Brady v. Maryland, 373 U.S.

83 (1963), and its progeny, including Giglio v. United States,

405 U.S. 150, 154-55 (1972), require that:

      To the extent that the prosecutor knows of material
      evidence favorable to the defendant in a criminal
      prosecution, the government has a due process
      obligation to disclose that evidence to the defendant.

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     . . . Information coming within the scope of this
     principle . . . includes not only evidence that is
     exculpatory, i.e., going to the heart of the
     defendant’s guilt or innocence, but also evidence that
     is useful for impeachment, i.e., having the potential
     to alter the jury’s assessment of the credibility of a
     significant prosecution witness.

United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998)

(citing, inter alia, Brady, 373 U.S. at 87).             Accordingly an

“individual prosecutor has a duty to learn of any favorable

evidence known to the others acting on the government’s behalf in

the case, including the police.”           Kyles v. Whitley,      514 U.S.

419, 437 (1995).    Thus, “[d]ocuments that the Government has

reviewed or has access to must be provided to aid a defendant in

preparing his [or her] defendant,” however, “[t]he prosecutor

need not . . . produce documents from agencies that did not

participate in the investigation of the defendant or documents of

which it is unaware.”        See United States v. Giffen, 379 F. Supp.

2d 337, 343 (S.D.N.Y. 2004) (citing cases).

     The Jencks Act, 18 U.S.C. § 3500, provides that “[a]fter a

witness called by the United States has testified on direct

examination, the court shall, on motion of the defendant, order

the United States to produce any statement (as hereinafter

defined) of the witness in the possession of the United States

which relates to the subject matter as to which the witness has

testified.   If the entire contents of any such statement relate

to the subject matter of the testimony of the witness, the court


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shall order it to be delivered directly to the defendant for his

examination and use.”        The term “statement” is defined as: (1) a

written statement made by said witness and signed or otherwise

adopted or approved by him; (2) a stenographic, mechanical,

electrical, or other recording, or a transcription thereof, which

is a substantially verbatim recital of an oral statement made by

said witness and recorded contemporaneously with the making of

such oral statement; or (3) a statement, however taken or

recorded, or a transcription thereof, if any, made by said

witness to a grand jury.”        18 U.S.C. § 3500(e).         However, as the

Government notes, § 3500(a) limits production to the time period

after a covered witness testifies (“In any criminal prosecution

brought by the United States, no statement or report in the

possession of the United States which was made by a Government

witness or prospective Government witness (other than the

defendant) shall be the subject of subpoena, discovery, or

inspection until said witness has testified on direct examination

in the trial of the case.”); accord United States v. Percevault,

490 F.2d 126, 132 (2d Cir. 1974) (holding that “the government

cannot be compelled to disclose statements of prospective

witnesses prior to the time prescribed by the Jencks Act”).

     B.   Discussion

     Defendants move for discovery seeking Brady, Giglio, and

Jencks Act material, including “documents in the possession,


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custody, or control of the United States Attorney’s Office for

the District of Connecticut, the Department of Homeland Security

(including the Bureau of Citizenship and Immigration Services and

the Bureau of Immigration and Customs Enforcement), the Federal

Bureau of Investigation, the Attorney General’s Office for the

State of Connecticut, the State of Connecticut Department of

Labor, and any other federal, state, and local agency or

authority that investigated the facts relating to this matter.”

Def. Mot. for Discovery [Doc. # 51] at 2-3.          Defendants also seek

disclosure of “drafts and rough notes of interview Reports of

Investigation prepared by the Department of Homeland Security,

Bureau of Immigration and Customs Enforcement (the “ICE Reports”)

relating to the Defendants, and drafts and rough notes of any

interview memorandum relating to Defendants, or any investigation

into Dunkin’ Donuts regarding the facts of this case. . . . [T]o

satisfy its Giglio obligations, the government should be ordered

to examine the rough notes and compare them to other statements

of any witness they intend to call at trial.          If the notes

contradict other statements by the same witness, the government

should be order [sic] to produce them.        In any event, such rough

notes or drafts of interview memoranda are likely to contain

information material to the preparation of the defense.”             Id. at

3-4 (citing United States v. Harrison, 524 F.2d 421, 427-28 (D.C.

Cir. 1975)).


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     The Government represents that it “has turned over any

documents or items that it deems material to [the] defense [and]

all Brady and Giglio information currently in its possession.”

Gov’t Opp. to Discovery Mot. [Doc. # 66] at 5.              The Government

also provides that it did not conduct the investigation in this

case with any state or local agency (nor has it requested any

documents therefrom) and thus it does not have constructive

possession of any material that such an agency might have.                Id.

Additionally, the Government disputes the relevance of certain

types of information typically disclosed to a defendant in a

criminal case, noting inapplicability to this case.              Id. at 6-7

(e.g., defendants were not involved in a line-up, no physical or

mental examinations were conducted, et cetera).

     As a general matter, the Supreme Court has “never held that

the Constitution demands an open file policy,” Kyles, 514 U.S. at

437, as “[a]n interpretation of Brady to create a broad,

constitutionally required right of discovery would entirely alter

the character and balance of our present systems of criminal

justice. . . . Furthermore, a rule that the prosecutor commits

error by any failure to disclose evidence favorable to the

accused, no matter how insignificant, would impose an impossible

burden on the prosecutor and would undermine the interest in the

finality of judgments.”      United States v. Bagley, 473 U.S. 667,

675 (1985).


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     As to the Brady/Giglio material, the Government represents

that it has produced all material it considers to be Brady and/or

Giglio material and indeed the Government states that it has

produced all of its documents related to this case except grand

jury materials (although it has produced the grand jury

transcript of one witness as potential Brady material) and

Government work product in the form of law enforcement reports

and other documentation (although the Government represents that

it has produced “most” of the finalized law enforcement reports,

notwithstanding its contention that such constitute privileged

work product).5   “[D]istrict courts in this circuit routinely

accept [this] type of representation that the Government has made

concerning Brady [and Giglio] material.”         United States v.

Savarese, No. 01cr1121(AGS), 2002 WL 265153, at *2 (S.D.N.Y. Feb.

22, 2002); accord United States v. Upton, 856 F. Supp. 727, 746

(E.D.N.Y. 1994) (“To the extent that the government represents

that it ‘has produced every document in its possession which

relates in any way to this case,’ . . . the court must assume the

veracity of that representation.”).        Moreover, defendants’

request for such information amounts to no more than “mere

speculation” that the Government has not provided everything that


     5
       As a general matter, Fed. R. Crim. P. 16(a)(2) exempts
from disclosure “reports, memoranda, or other internal government
documents made by an attorney for the government or other
government agent in connection with investigating or prosecuting
the case.”

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it is obligated to disclose, which is insufficient to justify any

order of additional disclosure or discovery.6

     As to the Jencks Act material, as the Government notes,

defendants’ motion is premature.         Moreover, defendants have made

no showing that the requested documentation, including

investigative and law enforcement reports and notes, contains

statements used or adopted by any prospective witnesses, so as to

trigger the Court’s obligation to review such documentation in

camera.   See United States v. Henke, 222 F.3d 633, 642 (9th Cir.

2000) (district court’s obligation to review privileged pretrial

interview notes not “trigger[ed]” where “defendants made no

showing that they might discover something exculpatory or

impeaching, [n]or did they show that the notes were used or

adopted by the witness”).      Nevertheless, the Government proposes

in its opposition memorandum an arrangement by which each side


     6
       See United States v. Navarro, 737 F.2d 625, 631 (7th Cir.
1984) (“Mere speculation that a government file may contain Brady
material is not sufficient to require a remand for in camera
inspection. . . . A due process standard which is satisfied by
mere speculation would convert Brady into a discovery device and
impose an undue burden upon the district court.”); United States
v. Milikowsky, 896 F. Supp. 1285, 1309 (D. Conn. 1994) (“The
Defendants have provided no basis upon which this Court can
distinguish their desire to peruse the prosecutors’ notes from
that of all other criminal defendants who believe they would
benefit from reading the prosecutors’ interpretations and
descriptions of interviews with unsworn witnesses. Were this
Court to grant the Defendants’ motion, it would set an absurd
precedent, allowing defendants to scour the working notes of
prosecutors upon the mere accusation that the government has not
sufficiently disclosed every potentially exculpatory detail.”),
aff’d 65 F.3d 4 (2d Cir. 1995).

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would comply with its respective disclosure obligations on “an

early basis that is fair to both sides,” Gov’t Opp. to Mot. for

Discovery at 12; however the Court is not aware that any such

agreement has been reached between the parties.             For purposes of

effective and thorough trial preparation and to the extent that

any Jencks Act material exists, which is discussed in greater

detail below, the Court directs the Government to disclose any

such material no later than 10 days prior to commencement of

trial evidence.    Pursuant to the Local Standing Order On

Discovery in criminal cases, defendants shall similarly disclose

any statements of any of their witnesses in their possession and

relating to the subject matter of a witness’s testimony no later

than 10 days prior to commencement of trial evidence.

     Turning to the heart of the Jencks Act dispute, the Act

provides for disclosure of only “any statement . . . of [a

prosecution] witness in the possession of the United States which

relates to the subject matter as to which the witness has

testified,” defined as “(1) a written statement made by said

witness and signed or otherwise adopted or approved by him; (2) a

stenographic, mechanical, electrical, or other recording, or a

transcription thereof, which is a substantially verbatim recital

of an oral statement made by said witness and recorded

contemporaneously with the making of such oral statement; or (3)

a statement, however taken or recorded, or a transcription


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thereof, if any, made by said witness to a grand jury.” 18 U.S.C.

§ 3500(b), (e).7   Notes and/or reports may be considered

“substantially verbatim recital[s]” of a witness’s statement if

they “could fairly be deemed to reflect fully and without

distortion what had been said to the government agent,” and are

thus competent impeachment evidence for trial.              Palermo v. United

States, 360 U.S. 343, 352 (1959).        This standard “was designed to

eliminate the danger of distortion and misrepresentation inherent

in a report which merely selects portions, albeit accurately,

from a lengthy oral recital.      Quoting out of context is one of

the most frequent and powerful modes of misquotation.               We think

it consistent with this legislative history, and with the

generally restrictive terms of the statutory provision, to

require that summaries of an oral statement which evidence

substantial selection of material, or which were prepared after

the interview without the aid of complete notes, and hence rest

on the memory of the agent, are not to be produced.              Neither, of

course, are statements which contain the agent’s interpretations

or impressions.”    Id. (emphasis added).      Accordingly, a “third



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       The Court notes that “a writing prepared by a Government
lawyer relating to the subject matter of the testimony of a
Government witness that has been ‘signed or otherwise adopted or
approved’ by the Government witness is producible under the
Jencks Act, and is not rendered nonproducible because a
Government lawyer interviews the witness and writes the
‘statement.’” See Goldberg v. United States, 425 U.S. 94, 98,
101-02 (1976).

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party’s characterization of a witness’s statement does not

constitute a prior statement of that witness unless the witness

has subscribed to that characterization.”         United States v.

Almonte, 956 F.2d 27, 29 (2d Cir. 1992) (internal quotation

omitted).    And thus, defendants are not entitled to summaries of

a witness’s statement, “fragmentary notes, jottings, scraps or

writings which are not ‘substantially verbatim,’” “rough, choppy,

disjointed, scattered jottings full of sentence fragments,” or

“shorthand, sketchy notes” that are “bare-bones summary of the

witness’s remarks.”    See United States v. Allen, 798 F.2d 985,

994 (7th Cir. 1986); United States v. Thomas, 282 F.2d 191, 194

(2d Cir. 1960); United States v. Sainato, 29 F. Supp. 2d 116, 118

(E.D.N.Y. 1998); United States v. Viola, No. 91cr800 (SJ), 1992

WL 333650, at *1 (E.D.N.Y. Nov. 2, 1992).

     The Government submitted the notes and law enforcement

reports sought by defendants and the Court has thus reviewed them

in camera.   The notes, written in various handwritings and

degrees of legibility, with the exception of one document, do not

appear to be “substantially verbatim recital[s]” of witness

statements as they are partly composed of “jottings” or “scraps

of writing,” are “fragmentary,” non-narrative, and appear in some

cases to be excerpts and/or summaries and characterizations of

witness statements, sometimes including notes of impressions.

The law enforcement reports, however, while not actual verbatim


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transcripts of the witness interviews, appear to be comprehensive

and   detailed recitals of what each witness told the

interviewers.     Indeed, they are in the form of “[the witness]

made the following statements . . .,” “[the witness] stated . .

.,” “[the witness] went on to explain . . .,” and therefore

might, if properly redacted to omit the questions or statements

of the Assistant United States Attorney, constitute substantially

verbatim recitals of each witness’s statements.               Similarly, the

notes of an “8 June 2006” “Follow Up” is in Question-and-Answer

format and thus appears to also be a substantially verbatim

recital of the witness’s answers to specific questions.

Accordingly, the Court will consider requiring the Government to

produce the law enforcement reports not yet disclosed and the one

additional document containing notes of the June 8, 2006

interview, after receiving the Government’s witness list and, if

any of these individuals will be called as prosecution witnesses

at trial, hearing further from the Government as to why the

appearances of these documents as substantially verbatim recitals

may have been misleading to the Court.

      With respect to the grand jury transcripts, as discussed

above in connection with the Court’s analysis of defendants’

Motion to Dismiss, “absent any suggestion of grand jury bias or

that [the grand jury] was illegally constituted,” the Indictment

alone “is enough to call for trial of the charge on the merits”


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and disclosure or in camera review of the grand jury transcripts

is not warranted.     See Costello, 350 U.S. at 363; Shakur, 560 F.

Supp. at 350.     Further, “[g]rand jury proceedings carry a

‘presumption of regularity’ [and] [a] review of grand jury

minutes is rarely permitted without specific factual allegations

of government misconduct.”        United States v. Torres, 901 F.2d

205, 232-33 (2d Cir. 1990).        The Government represents that it

has produced the portion of those transcripts which contains

possible Brady material and, as discussed above, the Court

assumes that representation is accurate.           Moreover, defendants do

not allege grand jury bias or other illegal constitution, or

government misconduct.        Accordingly, defendants’ motion in this

respect must be denied.

V.   Conclusion

     For the foregoing reasons, defendants’ Motion to Dismiss and

For Access to Grand Jury Transcripts and/or For In Camera Review

[Doc. # 55] is DENIED.        Defendants’ Motion for a Bill of

Particulars [Doc. # 52] is GRANTED in part and DENIED in part,

and the Government is directed to provide identification of the

aliens at issue in each of Counts 1 through 5 of the Superseding

Indictment within 10 calendar days from the date of this ruling.

Defendant’s Motion for Discovery [Doc. # 50] is DENIED as

detailed above, with sua sponte reconsideration to be given with

respect to the possible Jencks Act material identified above,


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after the Government’s witness list is provided.

                                  IT IS SO ORDERED.

                                          /s/
                                  Janet Bond Arterton
                                  United States District Judge

Dated at New Haven, Connecticut this 10th day of October, 2006.




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